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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBM

 

LESLIE ATKINS d/b/a
LESLIE ATKINS COMMUNICATIONS,

Plaintiff, Civil Action No. 98-800 (CKK)

V.

BENSON J. Frscnnu, er al.,

 

Det`endants.

 

MEMORANDUM OPINION
(Novernber 7, 2006)

Currently before the Court is the Show Cause Order filed by Richard E. Schimel, Esq.,
n attorney for Defendant The Fischer Organization, Inc. (“Fischer ()rganization” , regarding the
" disposition of $20,000 paid to Attorney Schirnel, as attorney for the Fischer Organization, by Erie
lnsurance Exchange '(“Erie”) as part of the settlement of this action. The sum is currently on
deposit pursuant to LCVR 67.1(a)(2) in the Court Registry for the United States District Court for

n the District of Colunibia under Civil Action No. 98-0800 (CKK). This Court has conducted a

' thorough review of the relevant tilings, the entire record in this action_, and particularly the

' `Supplememal Decision re Motz'on for Partz`al Summary Judgment Regarding the Claz`ms Relating
` to the Arkins Liit`gaz‘ion issued by United States Banl<:ruptcy .ludge S. Martin Teel, Jr., sitting by
designation in the United States Bankruptcy Court for the Dist:rict of Maryland, on April 11,
2006. fn re Benson J. Fischer, Case No. 03-13704-NA, Adversar`y Proceeding No. 03-12222
`(Bankr. D. Md. Apr. 11, 2006) (attached hereto, hereinafter “Supplernental Decision”). This

n " ' Court finds that Ba;nkruptcy Judge Teel’s erudite decision throughly addresses and disposes of

 

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the arguments raised by `Ro`ger Schlos'sherg, the Chapter 7 Banl<ruptcy Trustee of the estate of

:Defend'ant Benson .`I. Fischer (the “Trustee”), Who asserts that the $20,000 paid to Attorney
Schimel by Erie belongs to the bankruptcy estate. In the event that the Trustee continues to
believe that the S?.0,000 currently on deposit in the Court Registry is rightfully considered

` property of the bankruptcy estate, that issue is properly litigated before the Banl<ruptcy Court.

Therefore, the Court shall allow the Trustee sixty (60) days _ until and including .`lanuary 8, 2007
- in Which to raise the issue before the Banlcruptcy Court. lf the Trustee does not bring such a

` challenge, and provide notice to this Court of the challenge, on or before lanuary 8, 2007, this

"iCourt shall order the release of the $20,000 currently on deposit in the Court Registry on lanuary
9, 2007.

I: BACKGROUND
This case has had a long and tumultuous history and has been the subject of numerous
n ii opinions and orders of this Court as Well as of the D.C. Circuit Court of Appeals. As such, the
l iCourt shall recite herein only those facts that are relevant to the ShoW Cause Order currently
before the C`o'urt. Leslie Atkins brought this action in 1998 asserting claims based on a logo and
' label that she designed for a product conceived by Defendant Benson .`l. Fischer (“Fischer”)

il ii known as “Redneol<: Beer.” Atkins’ Complaint asserted claims against Fischer, The `Eischer
¢rgmnzation, lnc. (“Fischer Organization”), Whioh contracted With Atkins to use her designs, and
Fischer Brewing, lnc. (“Fischer Brewing”), Which manufactured Rednecl; Beer.

This case Was settled in open court on lanuary 27, 2006. Under the terms of the
settlement Erie, the general liability insurance carrier for Fischer Brewing and Fischer as its

"President, agreed to pay the sum of $20,000 to Attorney Schimel, as attorney for the Fischer

 

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Org'anization,` for legal fees owed to Attomey Schimel. Def.’s Reply to Trustee’s Resp. to Order
to ShoW Cause (hereinafter “Def.’s Reply”) at 10-11. ln exchange, the Fischer Organization
agreed to release its right to assert a potentially valid claim for an implied non-exclusive license
` '- to use Atkins’ copyrighted materials _Id. at 10 and EX. F (1/27/06 Tr. of Settlement Conf.) at
' 14:9-13. During the settlement negotiations, counsel for the Trustee asserted that the $20,000 to
be paid to Attorney Schiinel under the settlement resulted from a pre-petition cause of action of
l Fischer’ s estate and therefore belonged to the Trustee rather than to Fischer or Attorney Schimel.
Trustee’s Resp. to ShoW Cause Order (“Trustee’s Resp."’) at 4-5; See also Def.’s Reply EX. F
n ' - "('1/27/06 Tr. of Settlement Conf.) at 14:20-24. As a result, Brie and the Fischer Organization
' agreed to place the 320,000 in the Court Registry for the United States District Court for the
n ii District of Colurnbia under Civil Action No. 93-0800 (CKK), pursuant to LCvR 67. l(a)(2).
-Def.’s Reply at ll; EX. F at 14:20-'24. During the Settlernent Conf`erence before this Court, this
l ii Court authorized Attorney Schimel to file a Show Cause Order With this Court in the event that
' the Trustee did not pursue his claim that the $20,000 Was property of the bankruptcy estate in the
' Bankruptcy Court, in order to facilitate a swift disposition of the $20,000. Def.’s Reply EX. F at
n ' l_7:lS-24.
Attorney Schimel filed his Show Cause Order on March l, 2006, requesting that_the
Trustee “show cause . . . Why the settlement proceeds should be part of the Bankrupt Estate of
` "Benson J. Fischer.” Show Cause Order at 2. The Court granted the ShoW Cause Order on March
'7, 2006 and the Trustee filed his Response to Order to Shovv Cause on April 18, 2006.
n n -Theroaf`ter, the Fisch_er Organization, acting through Attomey Schimel, filed a Reply to the

l "Trustee’s Response on May l, 2006 and Defendants Fischer and Fischer Brevving, acting through

 

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separate counsel, filed a Reply to the Trustee’s Re`sponse on May 4, 2006.

II: DISCUSSION
The Trustee’s Response to the Shovv Cause Order asserts two main arguments in support
of the Trustee’s contention that the $20,000 payment from Erie to Attorney Schimel, as attorney
for the Fischer Organization, belongs to the bankruptcy estate. First, the Trustee argues that the
settlement agreement is not enforceable as a matter of law because it is signed by Fischer on
behalf of himself and on behalf of Fischer Brevving While, according to the Trustee, the Trustee
“is the proper party With the requisite authority to settle prepetition causes of action on behalf of
t;h`e Debtor and Fischer Brevving.” Trustee’s Resp. at 6. Second, the Trustee asserts that the
`:settlement agreement “vitiates the purpose, the intent, and the plain language of the Bankruptcy
` Code” because the value of the defense of implied license belongs not only to the Fischer
:Organizatio'n, but to Fischer and to Fischer Brevving as Well, and is therefore property of the
bankruptcy estate. Id, at 6. The Reply filed by the Fischer Organization and the Reply filed by
`Fischer and Fischer Brevving both challenge the Trustee’s contentions and argue that the $20,000
currently on deposit should be distributed to Attorney Schimel, as attorney for the Fischer
Organization, in accordance With the settlement agreement See generally Def.’s Reply; Fischer
and Fis'cher Brewing Co.‘s Reply to Trustee’s Response to Order to Shovv Cause (hereinafter
` '“Fisc_her nepiy”).
The Trustee’s argument that the settlement agreement is not valid lacks merit. On

`November lS, 2003, this Court stayed this action vvith regard to Fischer due to his bankruptcy

n ii _`hling; however, on April 13, 2004, United States Bankruptcy Judge Duncan W. Keir signed a

 

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- Consent Order Modifying `Autornatic Stay, which allowed Leslie Atkins:
to proceed with litigation in the United States District Court for the District of
Columbia in the matter of Atlcz`ns v. Fiscker, et al., Case No. l'.9S-cv-00800"CKK
. . . and to allow the plaintiff therein to liquidate her claim, provided that any
recovery shall be limited to that which is available under any applicable insurance
policy or from the bankruptcy estate upon the filing of a proof of claim . . .
Def. ’s Reply EX. G (4/ 13/ 04 Consent Order) at 2. The settlement in this case proceeded precisely
as specified in the Consent Order signed by Bankruptcy Judge Keir, that is, PlaintiffJ s claim was
` liquidated solely from money paid by Erie under the applicable insurance policy. During the
' settlement negotiations, in addition to insisting upon monetary compensation, Atkins insisted
n upon an injunction against use of her copyrighted materials Supplemental Decision at 4. As the
' Fischer Organization was the entity that contracted with Atkins to use her designs, the Fischer
Organization “was in a position to block any settlement by rehising to consent to a release of any
license it might have had to use Atkins’ copyrighted materials.” Id. at 4-5. Erie therefore
decided to pay the Fischer Organization, in the form of payment to Attomey Schimel, $20,000
nom Erie’s own funds in order to secure from the Fischer Organization the release necessary to
n settle this litigation See id. at 5 ; Def.’s Reply Ex. F (Tr. of 1127/06 Settlement Conference) at
14:6-.24. Furthermore, as Banlcruptcy ludge Teel detennined, in negotiating for the $20,000
payment from Erie to Attomey Schirnel, the Fischer Organization “was represented by separate
n counsel and was entitled to negotiate whatever terms it viewed as favorable to it.” Supplemental
l _`Decision at 7 .-
The independent decisions made by Erie and the Fischer Organization regarding the

disposition of Erie’s funds are therefore outside the purview of the Trustee ln addition,

' Bankruptcy ludge Teel also noted, and this Court is aware of no information to the contrary, that

 

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' despite having received prompt notice of the settlement of this action, the Trustee has not

n attempted to' set aside the settlement other than to assert that the bankruptcy estate should receive
the 520,000 Erie paid Attomey Schimel, as attorney for the Fischer Organization, for release of
the implied license Id. at 7-8. Moreover, the Trustee had notice that the stay in this case was
lifted at the time that Bankruptcy ludge Keir signed the Consent Order, Def.’s Reply EX. G
(4/ 13/ 04 Consent Order) at 3, but did not seek to control this action with respect to Fischer or
Fischer Brewing. As a result, the Court rejects the Trustee’s late argument that the settlement in
this action is not enforceable as a matter of` law.

In addition, the Court finds that the Trustee’s argument that the settlement violates key

provisions of the Bankruptcy Code because the value of the implied license is property of the

z bankruptcy estate was thoughtfully considered and disposed of m Bankruptcy ludge Teel’s
"'Supplemental Decision. The Trustee’s Response asserts that the defense of implied license was

» asserted by Fischer and Fischer Brewing throughout this litigatiom and that the Fischer
Organization acted on behalf of Fischer Brewing in contracting with Atkins, and that as a result

l c"}Debtor’S argument that [sic] Fischer Orga:nization alone had a claim or defense against Atkins is

:Yecious'at'best.” Trustee’s Resp. at 8. As an initial matter, Erie agreed to pay $20,000 to

`Attorney Schimel in exchange for the Fischer Organization’s release of its potential right to
assert an affirmative defense of implied non-exclusive license in response to Atkins’ copyright

"claim. The Trustee is therefore incorrect in suggesting that Erie agreed to pay the Fischer
Organization for the release of a pre-petition counterclaim against Atkins. ln fact, no such
counterclaim existed because, as Bankruptcy Judge Teel noted, the counterclaims asserted by

-- -Fischer and Fischer Brewing had all been dismissed by final judgment or by stipulation before

 

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_ Fischer filed for bankruptcy Supplemental Decision at 3, 5 n.l.
Furthermore, in the bankruptcy proceeding Bankruptcy Judge Teel addressed at length a
claim made by the Trustee that Fischer should be denied a discharge under Chapter 7 for
` concealing property of the estate “by attempting to structure a settlement in the Atkins litigation
that provided for 320,000 to be paid to the Fischer Organization . . . instead of to Fischer
Brewing . . . based on rights belonging to . . . Fischer Brewing.” Id. at 2. Bankruptcy Judge Teel
granted Fischer’s motion for summary judgment as to this claim ln doing so, Ban]n'uptcy ludge
'Teel found that the Fischer Organization, represented by its own counsel, was entitled to
negotiate temis favorable to it during the settlement negotiations Irl_ at 7. Bankruptcy ludge
n Teel further determined that although it might be appropriate to consider Fischer Brewing’s
license rights as property of the estate, “once the Trustee assumed ownership of Fischer Brewing,
' . . . he became responsible for protecting Fischer Brewing’s assets, including its interest (if any)
n in the designs of Atkins.” Id. at 8. As a result, Bankruptcy Judge Teel concluded that “the
'- actions taken by the Fischer Organization in pursuit of its own best interests do not implicate
l fischer personally for purposes of [Chapter 7].” Id. at 8-9.
Bankruptcy ludge Teel’s well-reasoned opinion thus disposes of the Trustee’s argument
l z that the 320,000 paid by Erie to Attorney Schimel, as attorney for the Fischer Organization,
' constitutes property of the bankruptcy estate, and this Court shall defer to Bankruptcy ludge
Teel’s judgment on this issue. ln the event that the Trustee continues to believe that the 320,000
` currently on deposit in the Court Registry is rightfully considered property o`f the bankruptcy

' estate, that issue is properly litigated before the Banl<;ruptcy Court.

 

 

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III= CoNCLUs`IoN

For the reasons set forth above, the Court shall allow the Trustee sixty (60) days - until
and including lanuary 8, 2007 ~ in which to raise before the Bankruptcy Court his claim that the
$20,000 paid by Erie to Attorney Schimel, as attorney for the Fischer Organization, is property of
z the bankruptcy estate. If the Trustee does not bring such a challenge, and provide notice to this
Court of the challenge, on or before lanuary 8, 2007, this Court shall order the release of the
'$20,000 currently on deposit pursuant to LCvR 67 . l (a)(2) in the Court Registry for the United
States District Court for the District of Colurnbia under Civil Action No. 98-0800 (CKK) on

` January 9, 2007 . An appropriate Order accompanies this Memorandlnn Opinion.

' Date: November 7, 2006

/s/ ...
COLLEEN KOLLAR-K TELLY
United States District Judge

 

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Entered: April 12, 2006

The decision below is hereby signed
Dated: April 11, 2006.

Date signed Apr'r§ ‘\‘l, 2006

 

UNITED STATES BANKRUPTCY COURT
FOR TI-IE DIS’I'RICT OF MARYLAND
(GREENBELT)

IIl re

BENSON J. FISCHER, CaSe NO. 03-13'704-NA
(Chapter 7)

Debtor.

 

norma scHLosseuRe-, cuaprnn 7
rausrur:,

Plaintiff,
Adversary Proceeding No.

V. 03-01222

BENSON J. FISCHER,

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Defendanh.

SUPPLEMENTAL DECISION RE MOTION `FOR PARTIAL SUMMARY
JUDGMENT REGARDING THE CLAIMS RELATING TO THE ATKINS LITIGATION

The plaintiff, Roger Schloesberg, is the trustee in the ease
Of the debtor, Benson J. Fischer, under chapter 7 of the
Bankruptcy Code (11 U.S.C.). His complaint in this adversary
proceeding Seeks to deny Fiecher a discharge under 11 U.S.Cl
§§ 727(&)(2), (Bl, td)(A), (4)(D), and (5). The only claim not
yet tried is the claim relating to the so-called “Atkine
litigation,”'a civil action Leelie Atkine brought in the United

States District Court for the District of Colutubia asserting

 

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iclaims (including copyright claims) based on a logo and label
designed by Atkins for a product devised by Fischer known as
.“Redneck Beer.” Atkins asserted the claims against Fischer, The
-Fischer Organization, Inc. (“Fischer Organization”), which
contracted with Atkins to use her designs, and Fischer Brewing,
lnc. (“Fischer Brewing”), which manufactured Redneck Beer using
_the designs.

Schlossberg’s pretrial memorandum, as clarified by the

n trustee's opposition to Fischer’s motion for partial summary
judgment, has raised three claims relating to the Atkins
litigation, which may be summarized as follows. First, Fischer
"committed a false oath, justifying denial of a discharge under

§ 727(a)(4). and concealed an asset of the estate from
'Schlossberg, justifying denial of a discharge under

-§ 727(a)(2)(B), by failing_to schedule a counterclaim he believed
.'he had against Atkins. Second, Fischer did not reveal a
'”malpractice claim he had against his counsel for stipulating to
'che dismissal of the defendants’ counterclaims. Thirdir Fischer
`concealed property of the estate, justifying denial of a
discharge under § 727(a)(2)(B), by attempting to structure a
settlement in the Atkins litigation that provided for $20,000 to
'be paid to the Fischer Organization (an entity Fischer claims is
nowned by Fischer and his wife as tenants by the entirety} instead
of to Fischer Brewing (a company whose shares are property of the
'estate) based on rights belonging to (according to Schlossberg)

~Fischer Brewing. Fischer has moved for summary judgment With

 

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respect to all three claims.

The court denied summary judgment as to the § 727(a)(4)
branch of the first claim in an oral decision rendered on April
10, 2006. Viewing the evidence in the light most favorable to
Schlossberg, the court was compelled to conclude that Fischer
believed when he signed his schedules that he had a counterclaim
against Atkins, yet deliberately did not schedule that
counterclaim- A deliberate failure to schedule a counterclaim
further supports an inference that Fischer intended to defraud
the estate. That the counterclaim had in actuality been
dismissed with prejudice by the district court (pursuant to an
order that was not appealed once final judgment was entered on
November 30, 2001, long before the bankruptcy case was commenced
in 2003} is irrelevant; Fischer made a false oath by stating that
.he believed that his schedules were accurate. Moreover, the
debtor's false oath was material because (1) Fischer believed`
that the counterclaim held value at the time, which he could use
as leverage in settlement negotiations with his insurer and
Atkins, and (2) Schlossberg would need to investigate whether
such a counterclaim had any value for the estate.

However, summary judgment is appropriate as to the
§ 727(a)(2) branch of the first claim. 3ecause Fischer’s
counterclaim.had been dismissed pursuant`to an order that became
final upon entry of a final judgment on November 30, 2001, no
counterclaim existed that was property of the estate ` Therefore,

§ 727(a) (`2)(13) does not apply.

 

 

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`Two of the counterclaims asserted in the Atkins litigation`
were made only by Fischer Brewing. The debtor scheduled the
shares of stock of_Fischer Brewing as being solely owned by him.
He had no obligation to schedule Fischer Brewing’s counterclaims:
Failure to schedule those counterclaims does not form a basis for
denying a discharge {except to the extent Fischer thought the
counterclaims were his and he failed to schedule them).

Consequently, this court granted summary judgment as to-the
second claim. The two corporate defendants might have a claim
against their former counsel for stipulating to the dismissal of
their counterclaims without authorization, but Fischer would not.
His counterclaim was dismissed pursuant to a motion to dismiss
filed by Atkins.

The court granted summary judgment in its oral ruling as to
>the third claim regarding concealment of property of the estate
incident to the parties' securing a settlement in the Atkins
- _litigation. In settlement negotiations in the Atkins litigation,

.Atkins insisted on addressing not only her monetary claims

'_ against the defendants, but also insisted upon an injunction

against use of her copyrighted materials, which effectively
required a release by the defendants of any implied non-exclusive
license to use Atkins’ copyrighted materials. Schimel Affi.
f'ii 38-40_

With respect to Schlossberg's third claim, the estate's
zinterest in any such license is the only thing that Schlossberg

has identified as being concealed property of the estate.

 

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'-`Schlossberg has not shown that the counterclaims of the
‘defendants in the Atkins litigation were property of the estate
concealed in the settlement negotiations. By the time of thoser
negotiations, Fischer had learned that his counterclaim and the
counterclaims of the Fischer Organization and Fischer Brewing had
been dismissed, and had decided not to attempt to pursue those
counterclaims1 Schlossberg has proffered no evidence to rebut
the affidavits in support-of Fischer’s motion, which make clear
that the counterclaims were not a basis for bargaining for
receipt of anything in the settlement negotiations.

The alleged implied non-exclusive license became a
-bargaining chip in the settlement negotiations. Erie Insurance
Company (“Erie”) provided legal representation in the Atkins
litigation to Fischer and Fischer Brewing pursuant to an
linsurance policy held by Fischer Brewing. Erie was responsible
'for paying, within policy limits, any judgment recovered against7
Fischer and Fischer Brewing. Erie was agreeable to paying
SBS,OOO to Atkins for a release of her monetary claims. The

difficulty was that the Fischer Organization was in a position to

 

l The counterclaims of the two corporations were dismissed

by a stipulation. Fischer’s affidavit filed with the district
';court in duly 2004 recited that he had never authorized the
voluntary dismissal of his counterclaim. (Apparently Fischer was
under the impression that all of the counterclaims had been
"dismissed by stipulation.) An examination of the district court
' file reveals that the affidavit was filed in response to a
'contention by Atkins that despite the dismissals of the
counterclaims, “Mr. Schimel falsely claimed that there existed
counter~claims against Plaintiff in this case which Mr. Fischer
;wished to pursue.” The affidavit was not filed as an attempt to
reinstate the counterclaims.

 

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- block any settlement by refusing to consent to_a release of any
-license it might have had to use Atkins' copyrighted materials.
The Fischer Organization took the position that if any such
_license existed, it belonged to the Fischer Organization (as it
was that entity that entered into the contract with Atkins).
Richard Ew Schimel, as attorney for the Fischer Organization,
negotiated a tentative settlement with Erie that the Fischer
Organization would agree to the $58,000 settlement with Atkins,
including the injunction Atkins wanted, so long as Erie would pay
$20,000 to the Fischer Organization in exchange for the Fischer
Organization releasing its license. Schimel Affi. § 42.
Schimel notified Schlossberg’s counsel, Karen Moore, that a
settlement was being reached and requested her to participate in
l the settlement negotiations. Moore, participating by telephone,
drefused to agree to the settlement on behalf of Schlossberg, and
'-asserted that Schlossberg was entitled to any compensation for
»giving up any license,2 and she refused to agree to the funds
ibeing deposited in the registry of the district court for later
'resolution of the rightful owner.
The other parties, with Moore absent, proceeded to enter

'into an agreement for $58,000 to be paid Atkins, and for entry of

 

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Schlossberg takes the position that if any party held
such a license, it was Fischer Brewing because the Fischer
»Organization entered into the contract with Atkins for the
purpose of facilitating the eventual marketing of Redneck Beer by
the entity later formed to engage in such marketing, Fischer
Brewing. Thus, Schlossberg contends, any payment for such a
license owned by Fischer Brewing should come to Schlossberg as
the sole shareholder and management of Fischer Brewing.

 

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the injunctive relief Atkins sought, and Erie and the Fischer
Organization agreed that incident to the defendants agreeing to
that settlement, $20,000 from Erie would be placed in the
registry of the district court (the Fischer Organization having
persuaded Erie to increase the $15,000 amount previously
mentioned to $20,000). The agreement with Erie specified that
the $20,000 was in exchange for release by the Fischer
Organization of any license, preserving the right of Schlossberg
to claim that the $20,000 should be paid to him.

These facts do not make out a § 727(a)(2)(B) claim. The
Fischer Organization was represented by separate counsel and was
entitled to negotiate whatever terms it viewed as favorable to
it. Fischer Brewing (whose shares are owned by Schlossberg as
'property of the estate and who Schlossberg concedes has been
managed by him since at least October 2005) was represented by
'separate counsel, and Schlossberg was free to direct that counsel
not to enter into the settlement.

Schlossberg has presented no evidence that Fischer attempted
to direct Fischer Brewing’s counsel in how Fischer Brewing,
¢through that counsel, proceeded to settle.the Atkins litigation,
and the evidence demonstrates that the $20,000 payment term was
squeezed out of Erie by the Fischer Organization. Schlossberg's
counsel was promptly notified of the settlement and could have
taken steps to set it aside as an unauthorized act on behalf of
Fischer Brewing (as he had removed prior management and made

himself management of Fischer Brewing}. _At least at this

 

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juncture, Schlossberg has not attempted to set aside the
settlement other than to assert that Fischer Brewing, not the
Fischer Organization, had any ability to assert an implied non-
exclusive license to use Atkins’ designs and thus should receive
the $20,000 Erie paid for release of that license.

In its oral decision, the court ruled that any harm to
Fischer Brewing was not harm directly to the estate. The court
concluded that Fischer Brewing, but not the bankruptcy estate,
owned any right to compensation for any license rights that it
' held and that Fischer Brewing held any right to sue Fischer for
any interference with its right to such compensation.

The court noted in its oral ruling that Schlossberg had not

-stated in his pretrial memorandum that grounds exist for

" disregarding the corporate form. The court retracts that ruling

`as unnecessary. Fischer Brewing is no longer an operating
company, and in effect Schlossberg holds its claims as property
of the estate, such that viewing the evidence in the light most
favorable to Schlossberg it might be appropriate to view any
license rights of Fischer Brewing to constitute property of the
estate.

But this retraction does not alter the court's conclusion
with respect to Schlossberg's third claim. Once Schlossberg
assumed ownership of Fischer Brewing and displaced Fischer as
president and CEO of the company} he became responsible for
protecting Fischer Brewing's assets, including its interest (if

any) in the designs of Atkins. The actions taken by the Fischer

 

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Organization in pursuit of its own best interests do not
implicate Fischer personally for purposes of § 727, and even if
they did, those actions (by Fischer through the Fischer
Organization) do not constitute a “transfer[], remov[al],
destr[uction], mutilat[ion], or conceal[ment]” of assets of the
estate as required to bar the entry of discharge under

_§ 727(a)(2).

[Signed and dated above]

Copies to: Office of the United States Trustee; all counsel of
record. "

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